

People v Taylor (2025 NY Slip Op 01295)





People v Taylor


2025 NY Slip Op 01295


Decided on March 06, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 06, 2025

Before: Kern, J.P., Mendez, Rodriguez, Pitt-Burke, Higgitt, JJ. 


Ind No. 70604/21|Appeal No. 3820|Case No. 2022-03364|

[*1]The People of the State of New York, Respondent,
vAndre Taylor, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Hilary Dowling of counsel), for appellant.



Judgment, Supreme Court, New York County (Miriam R. Best, J., at plea; Abraham L. Clott, J., at sentencing), rendered July 19, 2022, convicting defendant of attempted criminal possession of a weapon in the second degree, and sentencing him to a term of 2 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 6, 2025








